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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MARK WALTERS                                )
                                            )
      Plaintiff,                            )
v.                                          )
                                            )   Civil Action No. 1:23-cv-03122-
OpenAI, L.L.C.,                             )   MLB
                                            )
      Defendant.                            )
                                            )


               DEFENDANT OPENAI, L.L.C.’S MOTION TO
              DISMISS PLAINTIFF’S AMENDED COMPLAINT

      Defendant OpenAI, L.L.C. (“OpenAI”), by and through the undersigned

attorneys, files this Motion to Dismiss Plaintiff Mark Walters’s Amended

Complaint pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6). For the reasons set

forth in OpenAI’s Memorandum of Law in Support of this Motion, filed

contemporaneously herewith, OpenAI respectfully requests that the Complaint be

dismissed in its entirety with prejudice.
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Dated: October 13, 2023               Respectfully submitted,

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                    Attorneys for Defendant OpenAI, L.L.C.
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                          CERTIFICATE OF SERVICE


      I hereby certify that, on this 13th day of October, 2023, I electronically filed

the foregoing Motion to Dismiss and Memorandum of Law in Support with the

Clerk of Court using the CM/ECF system, which will send e-mail notification of

such filing to all attorneys of record.



Dated: October 13, 2023
                                              By: /s/ Brendan Krasinski
                                              Brendan Krasinski
